                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

In the Matter Of:
                                                                       Chapter 7
LIFESTYLE LIFT HOLDING, INC., et al.,1                                 Case No. 15-44839-mlo
                                                                       Hon. Maria L. Oxholm
        Debtors.
________________________________________/
Basil T. Simon, Trustee,
                                                                       Adv. Proc. No. 17-04235
          Plaintiff,
Vs.

InfoCision, Inc. d/b/a InfoCision Management
Corporation, a Delaware Corporation,

      Defendant.
______________________________________/

           STATEMENT OF CONSENT TO ENTRY OF ORDER FOR DISMISSAL

      The parties, by their signatures below, consent to the entry of the attached Order For
Dismissal.

Dated: March 13, 2018                                _/S/ Stephen P. Stella______
                                                     Stephen P. Stella (P33351)
                                                     Attorney for Plaintiff
                                                     645 Griswold, Ste. 3466
                                                     Detroit, MI 48226
                                                     (313) 962-6400
                                                     attorneystella@sszpc.com




1
      The Debtors in these jointly administered cases include Lifestyle Lift Holding, Inc., Scientific Image Center
      Management, Inc., Scientific Image Center Properties, Inc., Pacific Seaboard Management, Inc. and Scientific
      Image Center Staffing, Inc.



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Dated: March 13, 2018
                                       /s/ Craig M. Eoff____________
                                       Craig M. Eoff (OH #0071002)
                                       Pelini, Campbell & Williams LLC
                                       8040 Cleveland Avenue NW
                                       Suite 400
                                       North Canton, OH 44720
                                       Telephone: 330-305-6400
                                       Facsimile: 330-305-0042
                                       ceoff@pelini-law.com
                                       Attorney for Defendant




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                                         ORDER FOR DISMISSAL


          This matter having come before the Court upon the stipulation of the parties hereto; and
the Court being fully advised in the premises;


          NOW, THEREFORE, IT IS HEREBY ORDERED that this adversary proceeding be
and hereby is dismissed with prejudice.


          SO ORDERED.




1
      The Debtors in these jointly administered cases include Lifestyle Lift Holding, Inc., Scientific Image Center
      Management, Inc., Scientific Image Center Properties, Inc., Pacific Seaboard Management, Inc. and Scientific
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